     Case 3:17-cv-00086-JM-BGS Document 5 Filed 02/14/17 PageID.20 Page 1 of 1



      Jessica R. K. Dorman, Esq. (SBN: 279919)
 1
      jessica@westcoastlitigation.com
 2    Robert L. Hyde, Esq. (SBN: 227183)
      bob@westcoastlitigation.com
 3
      Hyde & Swigart
 4    2221 Camino Del Rio South, Suite 101
      San Diego, CA 92108
 5
      Office Number:           (619) 233-7770
 6    Office Fax Number:       (619) 297-1022
 7
      Attorneys for Lynda Chounard
 8
 9
10                         UNITED STATES DISTRICT COURT
11                        SOUTHERN DISTRICT OF CALIFORNIA
12
         Lynda Chounard                                      Case No: 17-cv-00086-JM-BGS
13
14                               Plaintiff,                  Plaintiff’s Voluntary Dismissal
         v.                                                  with Prejudice,
15                                                           FRCP 41(a)(1)(A)(i)
16       California Business Bureau, Inc.
                                                             Hon. Jeffrey T. Miller
17                               Defendant.
18
19
20            Plaintiff, Lynda Chounard, pursuant to Federal Rules of Civil Procedure Rule
21    41(a)(1)(A)(i), does hereby request that this court dismiss this case with prejudice.
22
23
24    Respectfully submitted,
                                                              Hyde & Swigart
25
26
      Date: February 14, 2017                           By: /s/Jessica R. K. Dorman
27
                                                            Jessica R. K. Dorman
28                                                          Attorneys for Plaintiff

        ______________________________________________________________________________________________________
      Plaintiff’s Voluntary Dismissal              - ! 1 of ! 1 -                     17-cv-00086-JM-BGS
